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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


CHARLES WALLACE,                              )
                                              )
         Plaintiff,                           )
                                              )
vs.                                           )       JURY TRIAL DEMANDED
                                              )
CONVERGENT OUTSOURCING                        )
INC.,                                         )
                                              )
         Defendant.                           )

                                       COMPLAINT

         NOW COMES the Plaintiff, Charles Wallace, by and through undersigned

counsel, and for his complaint against the Defendant, Convergent Outsourcing, Inc,

Plaintiff states as follows:

                         I.         PRELIMINARY STATEMENT

      1. This is an action for actual and statutory damages for violations of the Fair

         Debt Collection Practices Act 15 U.S.C. § 1692 et seq. ("FDCPA").

                              II.    JURISDICTION & VENUE

      2. Jurisdiction arises under 15 U.S.C. § 1692 and pursuant to 28 U.S.C. § 1331.

      3. Venue is proper in this District in that Plaintiff resides here, Defendant

         transacts business here, and the conduct complained of occurred here.

                                      III.   PARTIES

      4. Charles Wallace ("Plaintiff") is a natural person who resides in Overland Park,

         KS.
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 5. Plaintiff is a "consumer" as that term is defined by the FDCPA, 15 U.S.C. §

    1692a(3).

 6. Convergent Outsourcing, Inc., ("COI”) is a business entity engaged in the

    collection of consumer debt within the State of Kansas.

 7. COI is a "debt collector" as that term is defined by the FDCPA, 15 U.S.C. §

    1692a(6) in that it is an entity of which its “principal purpose” is the collection

    of any debts.

                            IV.     ALLEGATIONS

 8. The debt allegedly owed by Plaintiff, namely a debt incurred through T-

    Mobile ("the Debt"), was incurred primarily for personal, family, or household

    services and is therefore a "debt" as that term is defined by the FDCPA, 15.

    U.S.C. § 1692a(5).

 9. On or about November 27, 2017, Plaintiff retained counsel to assist in the

    resolution of several debts, including the Debt.

 10. On or about January 8, 2018 Plaintiff's counsel sent notice of representation to

    Plaintiff's creditors via certified mail, including to COI.

 11. On or about January 16, 2018, COI received Plaintiff’s notice of

    representation.

 12. On or about May 3, 2018, COI contacted plaintiff directly via letter.

 13. Despite receiving notice that Plaintiff was represented by an attorney, COI has

    continued to contact Plaintiff directly.
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   14. These communications by COI violated 15 U.S.C. § 1692c(a)(1), in that COI

       contacted a consumer after receiving notice that the consumer was represented

       by an attorney.

                               V.     JURY DEMAND

   15. Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

       issues so triable.

                            VII.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Charles Wallace, respectfully prays for judgment as

follows:

       a.     All actual compensatory damages suffered pursuant to 15 U.S.C. §

              1692k(a)(1) from COI and for Plaintiff;

       b.     Statutory damages of $1,000.00 pursuant to 15 U.S.C. §

              1692k(a)(2)(A) from COI and for Plaintiff;

       c.     Plaintiff's attorneys' fees and costs pursuant to 15 U.S.C. §

              1692k(a)(3) from COI and for Plaintiff;

       d.     Any other relief deemed appropriate by this Honorable Court.
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                                  Respectfully submitted,
Date: October 2, 2018

                                  CREDIT LAW CENTER

                                  By: /s/ Anthony Hernandez
                                  Anthony Hernandez #69129
                                  4041 NE Lakewood Way, Suite 200
                                  Lee's Summit, MO 64064
                                  Telephone: 816-246-7800
                                  Facsimile: 855-523-6884
                                  anthonyh@creditlawcenter.com
                                  Attorney for Plaintiff
